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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                  )
    In re:                                                        )    Chapter 11
                                                                  )
    GRUPO AEROMÉXICO, S.A.B. de C.V., et al.,1                    )    Case No. 20-11563 (SCC)
                                                                  )
                                     Debtors.                     )    (Jointly Administered)
                                                                  )
                                                                  )    Ref. Docket No. 1716
                                                                  )


                                         AFFIDAVIT OF SERVICE

STATE OF CONNECTICUT )
                     ) ss.:
COUNTY OF MIDDLESEX )

ANGHARAD BOWDLER, being duly sworn, deposes and says:

1. I am employed as a Director of Client Services by Epiq Corporate Restructuring, LLC, with
   their principal office located at 777 Third Avenue, New York, New York 10017. I am over
   the age of eighteen years and am not a party to the above-captioned action.

2. On September 15, 2021, I caused to be served a customized “Notice: Filing of Transfer of
   Claim Pursuant to Federal Rule of Bankruptcy Procedure 3001(e)(2) or (4),” dated
   September 15, 2021, a sample of which is annexed hereto as Exhibit A, by causing true and
   correct copies to be enclosed securely in separate postage pre-paid envelopes and delivered
   via first class mail to those parties listed on the annexed Exhibit B.




1
   The Debtors in these cases, along with the each Debtor’s registration number in the applicable jurisdiction, are as
follows: Grupo Aeroméxico, S.A.B. de C.V. 286676; Aerovías de Mexico, S.A. de C.V 108984; Aerolitoral, S.A. de
C.V. 217315; Aerovías Empresa de Cargo, S.A. de C.V. 437094-1. The Debtors’ corporate headquarters is located
at Paseo de la Reforma No. 243, piso 25 Colonia Cuauhtémoc, Mexico City, C.P. 06500.
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3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”


                                                                /s/ Angharad Bowdler
                                                                Angharad Bowdler
 Sworn to before me this
 16th day of September, 2021
 /s/ Amy E. Lewis
 Notary Public, State of Connecticut
 Acct. No. 100624
 Commission Expires August 31, 2022
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                                 EXHIBIT A
 UNITED STATES BANKRUPTCY COURT
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 Southern District of New York                                                   Pg 4 of 6

In re:                                                                                 Chapter 11

GRUPO AEROMXICO, S.A.B. de C.V., et al.,                                               Case No. 20-11563 (SCC)

          Debtors.                                                                     (Jointly Administered)


                                          NOTICE: FILING OF TRANSFER OF CLAIM PURSUANT TO FEDERAL RULE OF
                                                                 BANKRUPTCY PROCEDURE 3001(e)(2) or (4)
Note: For Purposes of this form,   transferor refers to the claimant who is selling or otherwise assigning its claim. While         transferee refers to the party who is
purchasing or othewise being assigned the claim.
              BAR(23) MAILID *** 000200626131 ***                       AEM TRFNTC (MERGE2, TXNUM2) 4000018183
To:


             %"$!)'!#'"#& )" "'!#'#%#!)'%& %& " '!)-%& & % & /! &$!%'% # ')!1
              AAA AIR SUPPORT
              13723 HARVARD PL
              GARDENA, CA 90249




                                              Please note that your claim # 181 in the above referenced case and in the amount of
                                                  $1,825.00 has been transferred (unless previously expunged by court order)




              BRADFORD CAPITAL HOLDINGS, LP
              TRANSFEROR: AAA AIR SUPPORT
              ATTN: BRIAN L BRAGER
              PO BOX 4353
              CLIFTON, NJ 07012




No action is required if you do not object to the transfer of your claim. However IF YOU OBJECT TO THE TRANSFER OF YOUR CLAIM, YOU MUST,
WITHIN 21 DAYS OF THE DATE OF THIS NOTICE, FILE A WRITTEN OBJECTION TO THE TRANSFER WITH:

                                            UNITED STATES BANKRUPTCY COURT
                                            Southern District of New York
                                            One Bowling Green
                                            New York, NY 10004-1408


Send a copy of your objection to the transferee. Refer to INTERNAL CONTROL NUMBER  1716                in your objection. If you file an
objection, a hearing will be scheduled. IF YOUR OBJECTION IS NOT TIMELY FILED, THE TRANSFEREE WILL BE SUBSTITUTED ON OUR RECORDS
AS THE CLAIMANT.

Date: 09/15/2021                                                  Vito Genna, Clerk of Court


                                                                  /s/ Betina Wheelon

                                                                  Epiq Corporate Restructuring, LLC
                                                                  as claims agent for the debtor(s).

   FOR EBS USE ONLY:          This notice was mailed to the transferor, transferee, and debtor(s) counsel by first class mail, postage prepaid on September 15, 2021.
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                                 EXHIBIT B
                                        GRUPO AEROMXICO, S.A.B. DE C.V.
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                                                  SERVICE LIST
                                                                                           Main Document
                                                    Pg 6 of 6
Claim Name                             Address Information
AAA AIR SUPPORT                        13723 HARVARD PL, GARDENA, CA 90249
BRADFORD CAPITAL HOLDINGS, LP          TRANSFEROR: AAA AIR SUPPORT, ATTN: BRIAN L BRAGER, PO BOX 4353, CLIFTON, NJ
                                       07012




                                Total Creditor Count 2




Epiq Corporate Restructuring, LLC                                                                         Page 1 OF 1
